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                     Exhibit S
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Jeffrey R. Bragalone, Jonathan H. Rastegar, Jerry D. Tice, and Hunter S. Palmer
November 16
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(“​CCE v. HMD Global​”). We will file, with the same redactions as in ​CCE v. HMD Global​, briefing on
the motion to dismiss in that action (docket nos. 36, 47, 49, and 58). Since you have previously instructed
us to file
                entirely under seal, we will do so again here unless you tell us otherwise.

Other than these materials, if there is anything that will appear in our stipulation or accompanying
materials (including of course the stipulation itself) over which you claim confidentiality and request
redaction, please provide your requested redactions as soon as possible, but no later than your responsive
portions of the joint stipulation under Loc. R. 37-2. We will file those redacted versions and the
Application For Leave to File Under Seal under Local Rule 79-5.2.2. Since none of the sealed
information is confidential to HMD Global, you must file the appropriate declaration in support of sealing
under Local Rule 79-5.2.2(b)(i).

Finally, as we discussed in separate letters, we will take your proposal of earlier today to our client this
evening, and expect to get back to you tomorrow after we have been able to communicate with them. If
that proposal results in an agreement, that agreement will presumably include withdrawal of this joint
stipulation. We did not want those discussions to delay our motion any further, however, and will
therefore proceed with them during the week provided by the Local Rules.

Thank you for your continued time and courtesy in this matter.

Very Truly Yours,


Jennifer A. Kash
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Matthew S Warren (Bar No 230565)
Jennifer A. Kash (California Bar No. 203679)
Erika H Warren (Bar No 295570)
WARREN LEX LLP
2261 Market Street, No 606
San Francisco, California, 94114
+1 (415) 895 2940
+1 (415) 895-2964 facsimile
20 78@cases warrenlex com

Attorneys for HMD Global Oy


                     UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF CALIFORNIA

                                   )           Case No. [TBD]
HMD GLOBAL OY,                     )
                                   )           JOINT STIPULATION
   Movant,                          )          REGARDING MOTION BY HMD
                                   )           GLOBAL OY TO COMPEL
v.                                 )           PRODUCTION OF DOCUMENTS
                                   )           FROM ACACIA RESEARCH
 ACACIA RESEARCH CORPORATION, )                CORPORATION
                                   )
   Respondent.                     )           Judge: [TBD]
                                   )           Date: [TBD]
                                   )           Time [TBD]
                                   )           Place: [TBD]
___________________________________)

      Under Federal Rule of Civil Procedure 45 and Local Rules 45 and 37 2, movant
HMD Global Oy (“HMD Global”) and respondent Acacia Research Corporation (“ARC”)
submit this Joint Stipulation Regarding Motion by HMD Global Oy to Compel Production
of Documents from Acacia Research Corporation.



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II.   ARC’s Introductory Statement
      [ARC’s Introductory Statement]




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documents by claiming that its side would ultimately win the underlying dispute, there
would be no discovery. Castelan-Gutierrez v. Bodega Latina Corp., Case No. 17-1877,
2018 WL 4050493, at *2 (D. Nev. Mar. 30, 2018) (“The mere fact that a party may
articulate some legal argument that may allow it to prevail on a particular claim, even
when presented in a currently pending dispositive motion, is simply insufficient to justify
denying discovery to its opponent.”).
      Indeed, the “Federal Rules of Civil Procedure do not provide for automatic or
blanket stays of discovery when a potentially dispositive motion is pending,” Infanzon v.
Allstate Ins Co , 335 F R D 305, 312 (C D Cal 2020) (quoting Tradebay, LLC v eBay,
Inc., 278 F.R.D. 597, 600 (D. Nev. 2011)), and discovery will proceed unless the “party
seeking a stay of discovery carries a heavy burden of making a ‘strong showing’ why
discovery should be denied.” Soundgarden v. UMG Recordings, Inc., Case No. 19-5449,
2019 WL 10093965, at *6 (C D Cal Dec 2, 2019) (quoting Skellerup Indus Ltd v City
of Los Angeles, 163 F.R.D. 598, 600 (C.D. Cal. 1995)); see also Las Vegas Sun, Inc. v.
Adelson, Case No. 19-1667, 2020 WL 2114352, at *5 (D. Nev. May 4, 2020) (“Generally,
there must be no question in the court's mind that the dispositive motion will prevail, and
therefore, discovery is a waste of effort ”) (quoting Kor Media Grp , LLC v Green, 294
F.R.D. 579, 583 (D. Nev. 2013)).
      Although HMD Global has asserted lack of standing through a motion to dismiss,
because standing is a “threshold jurisdictional issue,” Chouraki Decl., Ex. C at 7-8, which
even CCE acknowledges “may be raised at anytime,” id Ex B at 11, HMD Global can
present facts beyond the pleadings to support its claim, has no time limit to make this
claim, and can take discovery and use that discovery to support a renewed motion. See
Uniloc USA, Inc. v. Apple Inc., No. 18-358, Docket No. 165 (N.D. Cal. Oct. 22, 2020)
(renewing motion to dismiss for lack of standing based on new evidence obtained through
discovery); see also Blitzsafe Tex. LLC v. Mitsubishi Elec. Corp., No. 17-430, 2019 WL
2210686, at *3 (E.D. Tex. May 22, 2019) (“[J]urisdictional discovery should only be
denied where it is impossible that the discovery ‘could . . . add[] any significant facts’ that

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regarding patent licenses, should they exist, are protected from disclosure by
attorney-client privilege and/or the work product doctrine. ARC objects to this request as
overbroad and unduly burdensome, and neither relevant nor proportional to the needs of
the case to the extent that the request seeks information not relevant to a claim or defense
asserted in this litigation ARC further objects to this request as vague, ambiguous,
overbroad, and unduly burdensome to the extent that it is unlimited in time and scope.
Specifically, this request includes the same overbroad and vague structure seen in Requests
1 and 2; ARC therefore incorporates the same objections here. Adding “communications”
about the already vague and overbroad universe of potential agreements covered by
Requests 1 and 2 to the request further broadens the scope of the request to include
communications and correspondence that may be irrelevant to the current litigation.
       Subject to and without waiving the foregoing General and Specific Objections, ARC
responds that to the extent the documents reasonably relate to the patent in suit and any
such documents exist, they have been provided to or are in the possession, custody, or
control of CCE and that, on information and belief, CCE is complying or has complied
with its discovery obligations in the Action.
       A.    HMD Global’s Position
       HMD Global’s Request No. 3 seeks communications concerning any agreement in
Request Nos. 1 or 2. In its letter of November 12, ARC takes the same position as it did
regarding Request Nos. 1 and 2, and declines to produce any documents. Chouraki Decl.,
Ex P
       The legal standard governing discovery is set forth above in Request No. 1, § A.1.
ARC’s overall objection fails for the reasons set forth above in Request No. 1, § A.2.
       Many categories of communications are directly relevant here. The negotiation
history of a contract is highly relevant to understanding its meaning 67 Wall St Co v
Franklin Nat’l Bank, 37 N.Y.2d 245, 248-49 (1975) (recognizing that the court can look to
the “surrounding facts and circumstances to determine the intent of the parties,” including
“evidence of conversations, negotiations and agreements made prior to or

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      Subject to and without waiving the foregoing General and Specific Objections, ARC
responds that to the extent the documents reasonably relate to the patent-in-suit and any
such documents exist, they have been provided to or are in the possession, custody, or
control of CCE and that, on information and belief, CCE is complying or has complied
with its discovery obligations in the Action
      A.      HMD Global’s Position
      HMD Global’s Request No. 4 seeks documents, including communications,
concerning any negotiations leading to any agreement in Request Nos. 1 or 2. In its letter
of November 12, ARC takes the same position as it did regarding Request Nos 1, 2 and 3,
and declines to produce any documents. Chouraki Decl., Ex. P.
      The legal standard governing discovery is set forth above in Request No. 1, § A.1.
ARC’s overall objection fails for the reasons set forth above in Request No. 1, § A.2.
      The negotiation history of a contract is highly relevant to understanding its meaning
67 Wall St. Co., 37 N.Y.2d at 248-49 (1975) (recognizing that the court can look to the
“surrounding facts and circumstances to determine the intent of the parties,” including
“evidence of conversations, negotiations and agreements made prior to or
contemporaneous with the execution” in order to explain ambiguities in a written
agreement).
      ARC has not shown that producing documents responsive to this request is unduly
burdensome for the reasons set forth above in Request No. 1, § A.3.
      As demonstrated, documents and communications that are responsive to this request
concern nonprivileged matter that is relevant to HMD Global’s standing claim, and this
request is within the scope of discovery, not overly broad, unduly burdensome,
disproportionate to the needs of the case, or designed to harass ARC. HMD Global sought
to resolve these disputes through a series of letters and by meeting and conferring three
times with ARC, as set forth above in HMD Global’s Introductory Statement, § F, but
could reach no agreements. Accordingly, HMD Global respectfully submits that the Court
should order ARC to produce all documents responsive to this request.

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      B.     ARC’s Position
      [ARC’s Position]
Request for Production No. 5
      Request: All documents concerning any agreement between ARC and any other
person or persons that includes any patent license including a patent owned in whole or
part by one or more Acacia Entities.
      Response: In addition to the foregoing General Objections, ARC incorporates by
reference each of its specific objections and responses to each of the preceding requests as
if fully set forth herein ARC objects to the phrase “any patent license” to the extent that it
characterizes any agreements involving ARC as conferring a relevant patent license from
ARC to any other entity; Defendant has no factual basis for such a characterization. ARC
objects to this request to the extent that it seeks discovery of email. ARC understands that
the parties to the Action agreed to a procedure for handling email discovery It is improper
and unduly burdensome to seek to circumvent these limits by seeking email discovery
from third-party ARC. Further, this request does not comply with the requirements for an
email discovery request. ARC further objects to this request to the extent that it seeks
privileged information, documents, or communications; internal communications
regarding patent licenses, should they exist, are protected from disclosure by
attorney-client privilege and/or the work product doctrine. ARC objects to this request as
overbroad and unduly burdensome, and neither relevant nor proportional to the needs of
the case to the extent that the request seeks information not relevant to a claim or defense
asserted in this litigation. ARC further objects to this request as vague, ambiguous,
overbroad, and unduly burdensome to the extent that it is unlimited in time and scope.
Specifically, the request includes patents and agreements that are irrelevant to the current
litigation as written, the request includes any agreements made by ARC or any of its
subsidiaries including any patent licenses. There is only one patent at issue, and it is
wholly owned by CCE. This request seeks information on all other patents owned by



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characterizes any agreements involving ARC as conferring a relevant patent license from
ARC to any other entity; Defendant has no factual basis for such a characterization. ARC
objects to this request to the extent that it seeks discovery of email. ARC understands that
the parties to the Action agreed to a procedure for handling email discovery. It is improper
and unduly burdensome to seek to circumvent these limits by seeking email discovery
from third-party ARC. Further, this request does not comply with the requirements for an
email discovery request. ARC further objects to this request to the extent that it seeks
privileged information, documents, or communications; internal communications
regarding patent licenses, should they exist, are protected from disclosure by
attorney-client privilege and/or the work product doctrine. ARC objects to this request as
overbroad and unduly burdensome, and neither relevant nor proportional to the needs of
the case to the extent that the request seeks information not relevant to a claim or defense
asserted in this litigation ARC further objects to this request as vague, ambiguous,
overbroad, and unduly burdensome to the extent that it is unlimited in time and scope.
Specifically, this request includes the same overbroad and vague structure seen in Request
5; ARC therefore incorporates the same objections here. Further, this request includes
additional agreements other than patent licensing agreements, as long as they were
“executed concurrently.” This provides an even broader and more vague scope to the
request and makes it even more likely that agreements responsive to the request would be
irrelevant to the current patent infringement litigation.
      Subject to and without waiving the foregoing General and Specific Objections, ARC
responds that to the extent the documents reasonably relate to the patent-in-suit and any
such documents exist, they have been provided to or are in the possession, custody, or
control of CCE and that, on information and belief, CCE is complying or has complied
with its discovery obligations in the Action
      A.     HMD Global’s Position
      Similar to Request No. 2, HMD Global’s Request No. 6 seeks documents
concerning any agreement executed concurrently with any agreement described in Request

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No 5 In its letter of November 12, ARC takes the same position as it did regarding
Request No. 5, and declines to produce any documents. Chouraki Decl., Ex. P.
      The legal standard governing discovery is set forth above in Request No. 1, § A.1.
ARC’s overall objection fails for the reasons set forth above in Request No. 1, § A.2.
      The agreements in Request No 5 are relevant for the reasons set forth there; the
concurrent agreements of Request No. 6 are relevant for the same reasons as the
concurrent agreements of Request No. 2.
      ARC has not shown that producing documents responsive to this request is unduly
burdensome for the reasons set forth above in Request No 1, § A 3
      As demonstrated, documents that are responsive to this request concern
nonprivileged matter that is relevant to HMD Global’s standing claim, and this request is
within the scope of discovery, not overly broad, unduly burdensome, disproportionate to
the needs of the case, or designed to harass ARC HMD Global sought to resolve these
disputes through a series of letters and by meeting and conferring three times with ARC, as
set forth above in HMD Global’s Introductory Statement, § F, but could reach no
agreements. Accordingly, HMD Global respectfully submits that the Court should order
ARC to produce all documents responsive to this request
      B.     ARC’s Position
      [ARC’s Position]
Request for Production No. 7
      Request All documents concerning communications concerning any agreement
between ARC and any other person or persons that includes any patent license including a
patent owned in whole or part by one or more Acacia Entities.
      Response: In addition to the foregoing General Objections, ARC incorporates by
reference each of its specific objections and responses to each of the preceding requests as
if fully set forth herein. ARC objects to the phrase “any patent license” to the extent that it
characterizes any agreements involving ARC as conferring a relevant patent license from
ARC to any other entity; Defendant has no factual basis for such a characterization. ARC

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objects to this request to the extent that it seeks discovery of email ARC understands that
the parties to the Action agreed to a procedure for handling email discovery. It is improper
and unduly burdensome to seek to circumvent these limits by seeking email discovery
from third-party ARC. Further, this request does not comply with the requirements for an
email discovery request ARC further objects to this request to the extent that it seeks
privileged information, documents, or communications; internal communications
regarding patent licenses, should they exist, are protected from disclosure by
attorney-client privilege and/or the work product doctrine. ARC objects to this request as
overbroad and unduly burdensome, and neither relevant nor proportional to the needs of
the case to the extent that the request seeks information not relevant to a claim or defense
asserted in this litigation. ARC objects to this request to the extent that it seeks discovery
of email. ARC understands that the parties to the Action agreed to a procedure for
handling email discovery It is improper and unduly burdensome to seek to circumvent
these limits by seeking email discovery from third-party ARC. Further, this request does
not comply with the requirements for an email discovery request. ARC further objects to
this request as vague, ambiguous, overbroad, and unduly burdensome to the extent that it is
unlimited in time and scope Specifically, this request includes the same overbroad and
vague structure seen in Requests 5 and 6; ARC therefore incorporates the same objections
here. Adding “communications” about the already vague and overbroad universe of
potential agreements covered by Requests 5 and 6 to the request further broadens the scope
of the request to include communications and correspondence that may be irrelevant to the
current litigation.
       Subject to and without waiving the foregoing General and Specific Objections, ARC
responds that to the extent the documents reasonably relate to the patent-in-suit and any
such documents exist, they have been provided to or are in the possession, custody, or
control of CCE and that, on information and belief, CCE is complying or has complied
with its discovery obligations in the Action.



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      A.     HMD Global’s Position
      Similar to Request No. 3, HMD Global’s Request No. 7 seeks documents
concerning communications concerning any agreement described in Request No. 5. In its
letter of November 12, ARC takes the same position as it did regarding Request Nos. 5 and
6, and declines to produce any documents Chouraki Decl , Ex P
      The legal standard governing discovery is set forth above in Request No. 1, § A.1.
ARC’s overall objection fails for the reasons set forth above in Request No. 1, § A.2.
      The agreements in Request No. 5 are relevant for the reasons set forth there; the
communications of Request No 7 are relevant for the same reasons as the communications
of Request No. 3.
      ARC has not shown that producing documents responsive to this request is unduly
burdensome for the reasons set forth above in Request No. 1, § A.3.
      As demonstrated, documents and communications that are responsive to this request
concern nonprivileged matter that is relevant to HMD Global’s standing claim, and this
request is within the scope of discovery, not overly broad, unduly burdensome,
disproportionate to the needs of the case, or designed to harass ARC. HMD Global sought
to resolve these disputes through a series of letters and by meeting and conferring three
times with ARC, as set forth above in HMD Global’s Introductory Statement, § F, but
could reach no agreements. Accordingly, HMD Global respectfully submits that the Court
should order ARC to produce all documents responsive to this request.
      B.     ARC’s Position
      [ARC’s Position]
Request for Production No. 8
      Request: All documents concerning communications concerning negotiations
leading to any agreement between ARC and any other person or persons that includes any
patent license including a patent owned in whole or part by one or more Acacia Entities or
any agreement executed concurrently with any agreement between ARC and any other



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